         Case 1:16-cv-03400-JPO Document 43 Filed 03/20/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 VICTORIA KAMARA et al.,
                               Plaintiffs,
                                                                  16-CV-3400 (JPO)
                     -v-
                                                                       ORDER
 GREATER HARLEM NURSING HOME
 AND REHABILITATION CENTER,
 INC. et al.,
                     Defendants.


J. PAUL OETKEN, District Judge:

       The Court has been notified that the parties have reached a settlement in this Fair Labor

Standards Act (“FLSA”) case, and they have submitted a proposed settlement for the Court’s

approval. (Dkt. No. 41.) The Court has reviewed the terms of the proposed settlement and finds

that they are fair and reasonable under Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199,

203, 206 (2d Cir. 2015).

       To that end, the proposed settlement at Docket Number 41 is approved, and the case is

hereby DISMISSED WITH PREJUDICE. The Court shall retain jurisdiction solely to resolve

any disputes arising from the settlement agreement and the settlement of this action.

       The Clerk of Court is directed to close the case.

       SO ORDERED.

Dated: March 20, 2018
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
